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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                               )
                                                     )
                                Plaintiff,           )
                                                     )
                           v.                        )
                                                     )    Civil Action No. l:17-cv-11008-MLW
CELLTRION HEALTHCARE CO., LTD.,                      )
CELLTRION, INC., and                                 )
HOSPIRA, INC.,                                       )
                                                     )
                                Defendants.          )
                                                     )
                                                     )

DEFENDANTS CELLTRION HEALTHCARE CO., LTD. AND CELLTRION, INC.’S
                      RULE 7.1 STATEMENT

        Pursuant to Fed. R. Civ. P. 7.1, Defendants Celltrion Healthcare Co., Ltd. and Celltrion,

Inc. certify as follows:

        Celltrion Healthcare Co. Ltd. has no parent corporation. The entities that own 10% or

more of Celltrion Healthcare Co., Ltd. include Ion Investments B.V., a Netherlands corporation

that is 100% owned by Temasek, an investment company based in Singapore, and One Equity

Partners IV, L.P., a Cayman Islands company that is 100% owned by JP Morgan.

        Celltrion, Inc. has no parent corporation. The entities that own 10% or more of Celltrion,

Inc. include Celltrion Holdings Co., Ltd., a Korean corporation, and Ion Investments B.V., a

Netherlands corporation that is 100% owned by Temasek, an investment company based in

Singapore.
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Dated: July 11, 2017                Respectfully submitted,

                                    Celltrion Healthcare Co., Ltd. and Celltrion,
                                    Inc.

                                    By their attorneys,

                                    /s/Andrea L. Martin, Esq. ______________
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                                    Co. and Ltd., Celltrion, Inc.




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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on July 11,
2017.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.
4844-8744-4555.1




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